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 8
                                 UNITED STATES DISTRICT COURT
 9
                     WESTERN DISTRICT OF WASHINGTON AT TACOMA
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11
     In re                                      USDC Number: 3:21-cv-05154-BHS
12
     SARAH HOOVER,                              Case No.: 19-42890-MJH
13
                       Debtor.                  Internal Appeal Number: 21−T003
14
                                                Adversary No.: 20-04002-MJH
15
     SARAH HOOVER,                              ORDER GRANTING UNOPPOSED
16                                              MOTION TO EXTEND
                       Plaintiff,               DEADLINES
17
             vs.
18                                              NOTED: April 13, 2021
     QUALITY LOAN SERVICE
19
     CORPORATION OF WASHINGTON,                 WITHOUT ORAL ARGUMENT
20   PHH MORTGAGE CORPORATION
     D/B/A PHH MORTGAGE SERVICES,
21   HSBC BANK USA, N.A., AS
     TRUSTEE OF THE FIELDSTONE
22   MORTGAGE INVESTMENT TRUST,
     SERIES 2006-2, NEWREZ, LLC, AND
23   IH6 PROPERTY WASHINGTON, L.P.
     D/B/A INVITATION HOMES
24
                       Defendants.
25

26
      ORDER GRANTING UNOPPOSED MOTION TO EXTEND                                    HOUSER LLP
      DEADLINES                                                     600 University St., Ste. 1708
      USDC NO. 3:21-cv-05154-BHS                                             Seattle, WA 98101
      Page 1                                                                PH: (206) 596-7838
                                                                          FAX: (206) 596-7839
              Case 3:21-cv-05154-BHS Document 15 Filed 04/15/21 Page 2 of 2




 1          THIS MATTER having come before the Court on Appellants PHH Mortgage
 2 Corporation D/B/A PHH Mortgage Service, HSBC Bank USA, N.A., as Trustee of the

 3 Fieldstone Mortgage Investment Trust, Series 2006-2, and NewRez, LLC’s (collectively, the

 4 “Appellants”) Unopposed Motion to Extend Deadlines (Doc. 11) in the above-captioned

 5 appeal, and the Court finding no genuine issue of material fact, it is hereby

 6          ORDERED that Appellants’ motion is GRANTED. The deadlines for (1) filing a
 7 Designation of Record on Appeal; (2) filing a Statement of Issues on Appeal; and (3)

 8 ordering appropriate transcripts for the appeal is extended to March 31, 2021.
 9          Dated this 15th day of April, 2021.
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                                                  A
                                                  BENJAMIN H. SETTLE
                                                  United States District Judge
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     Presented by:
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19 HOUSER LLP
   /s/ Emilie K. Edling
20 Emilie K. Edling (SBN 45042)

21 Robert W. Norman, Jr. (SBN 37094)
   Attorneys for Defendants PHH Mortgage
22 Corporation, HSBC Bank USA, N.A., as
   Trustee of the Fieldstone Mortgage Investment
23 Trust, Series 2006-2, and NewRez, LLC

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26
      ORDER GRANTING UNOPPOSED MOTION TO EXTEND                                          HOUSER LLP
      DEADLINES                                                           600 University St., Ste. 1708
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